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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


JANSSEN BIOTECH, INC.                                  )
                                                       )
                              Plaintiff,               )
                                                       )
                       v.                              )   Civil Action No. 1:17-cv-11008-MLW
                                                       )
CELLTRION HEALTHCARE CO., LTD.,                        )
CELLTRION, INC., and                                   )
HOSPIRA, INC.,                                         )
                                                       )
                              Defendants.              )
                                                       )
                                                       )


DECLARATION OF A. ROBERT QUIRK IN SUPPORT OF JANSSEN’S OPPOSITION
 TO DEFENDANTS’ MOTION IN LIMINE NO. 8, TO PRECLUDE EVIDENCE AND
   ARGUMENT FROM JANSSEN CONCERNING PRIVILEGE INSTRUCTIONS
     REGARDING THE CHANGE OF MANUFACTURING TO SINGAPORE

               I, A. Robert Quirk, declare and state as follows:

               1.      I am associated with Patterson Belknap Webb & Tyler LLP, counsel for

Janssen Biotech, Inc. (“Janssen”), and as such I am familiar with the facts stated herein.

               2.      Attached hereto as Exhibit 1 is an excerpt of the transcript of the

December 22, 2016 conference before the Court in this matter (captioned case No. 15-cv-10698-

MLW).

               3.      Attached hereto as Exhibits 2 through 5 are true and correct copies of

documents produced by Celltrion to Janssen in this matter. Each of Exhibits 2 through 5

contains the following, in order:

                       (a)     A true and correct copy of the respective document produced by

                              Celltrion, superimposed with an English translation of selected

                              Korean text. The original text appears in black, the translated
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                              portion is highlighted in yellow, and the certified translation is

                              superimposed in red.

                      (b)     An unmodified true and correct copy of the document produced by

                              Celltrion.

                      (c)     A certified Korean-to-English translation of the respective

                              document created by MultiLing Corporation.

                      (d)     The Certificate of Translation verifying the translation.

               4.     Attached hereto as Exhibit 6 is an excerpt from the transcript of the

deposition of Jong Moon Cho conducted on June 2, 2016.

               5.     Attached hereto as Exhibit 7 is a February 1, 2018 letter from Dan H.

Hoang, counsel for Celltrion, to Aron Fischer, counsel for Janssen, providing notice that 40

documents previously produced by Celltrion “contain information subject to and protected by the

attorney-client, work product, and/or common interest privileges and were inadvertently

produced in connection with this litigation.”

               6.     Attached hereto as Exhibit 8 is an excerpt from the transcript of the

deposition of Jong Moon Cho conducted on February 5, 2018.

               7.     Attached hereto as Exhibit 9 is an excerpt from the transcript of the

deposition of Dr. Min Kyong Jeon conducted on February 7, 2018.

               8.     Attached hereto as Exhibit 10 is a privilege log provided to counsel for

Janssen by counsel for Celltrion on February 14, 2018 regarding the documents identified in

Exhibit 7.




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               9.      Attached hereto as Exhibit 11 is a February 20, 2018 email from Benjamin

F. Jackson, counsel for Janssen, to Bryan Hales, Elizabeth Cutri, and Dan H. Hoang, counsel for

Celltrion, providing notice that Janssen disputed the claims of privilege asserted in Exhibit 7.

               I declare under penalty of perjury that the foregoing is true and correct.



Dated: June 4, 2018                           /s/ A. Robert Quirk____________________
                                              A. Robert Quirk
                                              rquirk@pbwt.com
                                              PATTERSON BELKNAP WEBB & TYLER LLP
                                              1133 Avenue of the Americas
                                              New York, NY 10036-6710
                                              212-336-2000
                                              FAX: 212-336-2222




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on June 4, 2018, this document, filed through the Court’s ECF
system, will be sent electronically to the parties or their counsel who are registered participants
as identified on the Notice of Electronic Filing.


                                                              /s/ Alison C. Casey
10420620




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